 Case 1:20-cr-00030-BMC Document 16 Filed 09/08/20 Page 1 of 2 PageID #: 47

                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
RCH                                                271 Cadman Plaza East
F. #2019R00927                                     Brooklyn, New York 11201


                                                   September 8, 2020

By ECF

The Honorable Brian M. Cogan
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Ivan Reyes Arzate
                     Criminal Docket No. 20-030 (BMC)

Dear Judge Cogan:

               The parties respectfully submit this written status update to the Court in the
above-captioned matter. In light of the COVID-19 pandemic presently affecting New York
City, the parties respectfully request that the Court adjourn the upcoming status conference
scheduled for September 15, 2020, for 60 days. The parties agree that an order of excludable
delay is appropriate until the next status conference, based on the Court’s previous complex
case designation in this matter and the party’s ongoing plea negotiations. The government has
continued the process of collecting and reviewing discovery for production to the defendant
on a rolling basis, including, most recently, a voluminous production of intercepted electronic
communications on August 24, 2020. The parties do, however, continue to face delays in
preparing for trial in this case, in light of the pandemic, including limitations on defense
counsel’s ability to meet with the defendant and review the discovery materials, as well as the
government’s ability to continue collecting discovery materials for disclosure and meet with
incarcerated witnesses.
  Case 1:20-cr-00030-BMC Document 16 Filed 09/08/20 Page 2 of 2 PageID #: 48




               An order of excludable delay will also permit the parties to continue engaging
in plea negotiations, in an effort to resolve this case with a disposition short of trial.

                                                  Respectfully submitted,

                                                  SETH D. DUCHARME
                                                  Acting United States Attorney

                                          By:       /s/
                                                  Michael P. Robotti
                                                  Ryan Harris
                                                  Erin Reid
                                                  Assistant U.S. Attorneys
                                                  (718) 254-7000




cc:    Mark DeMarco, Esq.
       Clerk of the Court (BMC) (by ECF)




                                             2
